Case 2:07-cv-02498-.]DB-dkv Document 1-1 Filed 07/26/07 Page 1 of 6 Page|D 8

EXhibit A

 

Case 2:07-CV-02498-.]DB-de, Document 1-1 Filed 07/26/07 Page 2 of 6 Page|D 9

 

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NAIE # 794’!3 _ ` Ca$hier# 41'28

Re: Shelby Co H€fh Ca§e Corp Bba Reg Med Ctr V. United Hea!thcare fns Company
Docket # CT-DE3239~G?

To Whom lt -Niay Concem:

We are enclosing herewith a document that has been served-on this department on your behaff in connection with
the above-styled mauer. ‘

ll h€r€by make Gafh ihaHhe attached C`ompiaint-was served oh me _on-June 28,' 2007 by Shelby Co Hith '_C_are'£._`,orp
Dba Reg-Med Ctr pursuant to Te`nn. Code Ann. § 56~2+564 or §'56'~2~506; A copy‘cf this-document is being sent'.to
the-Circuit.€.curt of She¥by County, 'FN

-_B`r'er`zdac, Meade

Besi’gnate`d Agent

Serv§¢e cf Prccess

Enc¥osures

cc: C_ircui£ Gjour‘t C¥er§<
She§by C`c:unty -

140-Adam$ Street. Rm 324
Memp'his, Tn 38103

:Servise-of'Pro¢ess:'é-q~s;$§z;§za@

 

 

Case 2:07-cv-02498-.]DB-dkv Document 1-1 Filed 07/26/07 Page 3 of 6 Page|D 10

 

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'1‘-0 THE DEFENDANT(S}:UHM _H¢althqar'e msurancc"€¢mpany
450 golum_bus B¢ui¢va;d, Hmi;`grd_, CT 061;03
(sezve thought Commissit_mer oflnsu'ranee)

You are hereby summoned and required fo defend a civil action by iiing your'&ns_w_er with'tlze_ C`Ierk of'thc_Com and
serving a copy ofyour answer to die -Complaint_ cmi Mccullough & M¢CUUOUS§¢ PL.LC 7 Piaintif?s
attomey, Whose address is 905-50 CQrpG.rate:Garciens-Drive, Gezmautown,'TN.$SI.BS` § telephone (991) 755”33-81 within
THKTY (30 )DAYS' divert this summons has been served upon you, riot including the day of service. If you faii to du .so, a

   
 

judgment by default may be iake!l against you for the reliefdemandsd in the Co:i:pia§zzt,

 

' " :MOGRE,_' lerk
K.E _.f - :!\’_`ONG, Clerk.&.Master
TESTED AND ISSUED éj/BB"“ ,z>o ®.> By _ M" ' , D.-c.

T<) ':FHE DEFENDANT($);

NOTICE: Pursuant to Chapter 919 ofih'e Pubiic Acts cf 1980, you arc hereby given the following-notice: '
Tenne_ssce law provides a four thousand dellar'{$-€E,OQO) personal property exemption mm exeeufion or sei_wre to satisfy ajudg_ment. If
ajudgment sh<mfd-'be entered against-you itt-this action and you wish 2c1-claim ptopeny- as exempt, you must 516 a written list, under
patfa, of'the items_you wish to c£aim as exempt with the Cierk of'thej Go'u'rt ‘£71;\¢ list may be filed at= any time and may'be'clianged- by you
hereafter as mwsary; howevcx_', unless it»is` flled{befbr& thejiidgmént` became_s finaf, i_t wil_i nat be effective as to any _e_)cr;cu£ion or
garnishment issued prior mem filing off-the list Cma"in --i'cem`s m*e`augomatica£ly §xempt.by; tsw and do nor media he ii§ted. ’£-hese
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recover `them. H"you rio adi-undeer your exemption right-br how tca-exercise i_t, j,'du-mar`y wisli‘ to' `seek=-t{a`e counsel of a fawyer.

¢C O'ST B`OND
1 hereby acknowledge and bind myself for the prosecution of this action and payment-dall costs'uo't.`to exceed .$SGG;0.0.m
this GOU.I“'¥ Which may-army time loe-adjudged against the plaintiff in ihe event-said plaintiff shall not pay dee same.

 

 

Witne_ss My Hand this day of _ ,20
`Certi§cation when applicable _
Szziret_`y l
I, KENNY ARMS']',`KONG, _Cie_rk &,M`aster I, JIKM jMQGRE, ¢C!e'r§<:of the Circuit

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KENNY ARMS*I_-“R@NG§ clerk & Masc@r
By: _ _ , D.C

 

 

 

Case 2:07-cV-02`498-.]DB-de' Docu'ment 1-1 Filed'O7/26/O7 Page40f6 Page|D 11`

 

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FOR THE TPHRHETH"JUDICIAL msch M MBMPH:S . .»-

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SHELBY coUNTV HE'-ALTH CARE
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VS.

mTED-£-EEALUCARE
wmch coMPANY,

. ,. ` ,. ` , ,.4, , -',

Defendant.

  

 

 

`Center, and Sues the Def'endant, United Healthcare Insurance Company, for Sev-en Hundred Thil*zy; . `
Ei-ght Thousand Three Hun.di;ed Nix;zefy~Five énd 57!1-60 Dollars ($73`8,3'95.57), plus interest and
costs and, for cause of action, Would resi)ectfil-Ifly show to the Cow-:t as'fofl§ws:

l. Th_at Shefiay County Health Care Corporation_ dfb!a Regi'onal.Med,ical Center, is a non~profzt
corporation organized and doing business under the Z#ws.ofthe 'State nfTe_m;§>_ssee_.with its_'pri:ncipa§
pfac`e of business-ig Memphis,.-'Shelhy- 003ny Tennessee:;-

2. That Defendant; Un`ited Healfhcare I.nsurance Company, is an insurance company properly
.doing_bus-ine's_s in Mcmpbi-s, Shé}by'€ounty, Tennessec_z.

3. Thai Plain£i-ff idmished and sold goodsj, materials, merchandise and medical services to
patient Romz;ie Eddjh$, at the specific instance and request-of.R»;qnnie Eddins-an'é-, after alfowia:lg- all
reasonab;e credits,'z)@;€endanz, Ums@d L;¢alchcaxelh§ma;;wc@mpany, is indebteq:m Plaimii-fiin;:he

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-(,1§-'!"'38,73`.95-.573z plus .izi_ferest and -c'¢§s’rswhich famotmt"remains Past- due amf unpaid after demand for

lt ...._¢.-WM-w..._' -_._..

t Case 2:07-cv-02498-.}Ddekv Document 1-1~ Filed 07/26/07 Page.$ 0f.6 Page|D 12

payment has been made and _-paymaat refused

4. leat De-fendant, Unitadi-Healthcare lnauranca Company, Was. the insurance carrier ofRorlnle
Ed`dins and has failed to malta 'payment_pl`§rsuant to"the'aasigxnnent exa¢uted by Ros:mie -Eddins to
Pla»‘ilifi`ff, Sh@lby Co_lmty Healfh_€axe Corp'oration dfb!a.Regional Medic_al Center, paysth to Te:m
Code Ann § 684 1-2'19.

5 'l`hat Plaint§ff` brings this action upon a contract and assignment of all benefits signed by
Ronnie Eddins béing filed herewith and attached hereto as Plaintift‘-s Exh'ibit "A”

6 That the afoxementioned transactions and provision of services all took place' m Memplais,
Shelby County-, Tennessee

WHEREFORE, PLAI_I"~TTIFF P.RAYS:

?. filth service cf process issue upon Défendant*raquiring Defenclant to answer, appear or
otherwise plead to this Complaint.

S. For a jucflgmcnt againat Defandant;, Uaited:Healthcar_e Insuranc_e Company, for a total of
Seven linnde Thirty-E_i_ght Thousand Thre¢ Hu:nd`red' Nincty~l?ive and 537/100 Dollars
($738,395.57), together math interest and all casts in;thls causa.

9. For such Om€a, farther and¢_general- relieft¢§ which Plaintiff may beant:itled.

 

CURTIS H. GOETSCH (0254@5)
'Mcc\a§aagh a Mccuaoag_h, PL'LC
Attorneys for Pla,~intl&"

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